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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

STRIKE 3 HOLDINGS, LLC,                         §
                                                §
                        Plaintiff,              §
                                                §
       v.                                       §
                                                    Case No. 3:23-cv-01669-B
                                                §
JOHN DOE, subscriber assigned IP address        §
24.170.6.13,                                    §
                                                §
                        Defendant.              §

               [PROPOSED] ORDER ON MOTION FOR LEAVE TO SERVE
            THIRD-PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       THIS CAUSE came before the Court upon Plaintiff’s Motion for Leave to Serve A Third

Party Subpoena Prior to a Rule 26(f) Conference (the “Motion”), and the Court being duly

advised in the premises does hereby:

       FIND, ORDER AND ADJUDGE:

        1.     Plaintiff established that “good cause” exists for it to serve a third party subpoena

on Spectrum (hereinafter the “ISP”). See e.g., Combat Zone Corp. v. John/Jane Does 1-5, No.

CV 3:12-4005-M, 2012 WL 5289736, at *1 (N.D. Tex. Oct. 26, 2012); Combat Zone Corp. v.

John/Jane Does 1-13, No. CV 3:12-3927-B, 2013 WL 230382, at *5 (N.D. Tex. Jan. 22, 2013).

        2.     Plaintiff may serve the ISP with a Rule 45 subpoena commanding the ISP to

provide Plaintiff with the true name and address of the Defendant to whom the ISP assigned an

IP address as set forth on Exhibit A to the Complaint. Plaintiff shall attach to any such subpoena

a copy of this Order.




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          3.     Plaintiff may also serve a Rule 45 subpoena in the same manner as above on any

service provider that is identified in response to a subpoena as a provider of Internet services to

one of the Defendants.

          4.     If the ISP qualifies as a “cable operator,” as defined by 47 U.S.C. § 522(5), which

states:

          the term “cable operator” means any person or group of persons

          (A) who provides cable service over a cable system and directly or through one
              or more affiliates owns a significant interest in such cable system, or

          (B) who otherwise controls or is responsible for, through any arrangement, the
              management and operation of such a cable system.

it shall comply with 47 U.S.C. § 551(c)(2)(B), which states:

          A cable operator may disclose such [personal identifying] information if the
          disclosure is . . . made pursuant to a court order authorizing such disclosure, if the
          subscriber is notified of such order by the person to whom the order is directed.

by sending a copy of this Order to the Defendant.

          5.     Plaintiff may only use the information disclosed in response to a Rule 45

subpoena served on the ISP for the purpose of protecting and enforcing Plaintiff’s rights as set

forth in its Complaint.

          DONE AND ORDERED this ___ day of ________________, 202___.



                                         By: __________________________________
                                              UNITED STATES DISTRICT JUDGE




[PROPOSED] ORDER                                                                                   Page 2
